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       Ltr to Pltf re




                                                     State of New Jersey
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   Lt. Governor                                                 P.O. Box 116                                               Director
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                                                         February 28, 2023

          VIA CM/ECF
          The Honorable Leda D. Wettre, U.S.M.J.
          United States District Court for the District of New Jersey
          Martin Luther King Building & U.S. Courthouse
          50 Walnut Street
          Newark, NJ 07102

                        Re: Shaporov, Alexander v. SONJ, et al.
                            Civil Action No. 22-01150 (EP/LDW)

          Dear Judge Wettre:

                 The undersigned represents Defendants State of New Jersey, Palisades
          Interstate Parkway Commission, Palisades Interstate Parkway Police Department,
          and PIPPD P.O. Matthew Levine Badge No. 366, PIPPD Sgt. Gregory D. Kimbro,
          Jr. Badge No. 368; PIPPD P.O. Timothy Conboy Badge No. 393; PIPPD P.O. Peter
          Wojcik Badge No. 406; and PIPPD P.O. Scott Bilotti, Badge No. 413 (collectively,
          “State Defendants”) in the above-captioned matter.

                On July 8, 2022, State Defendants filed a Motion to Dismiss Plaintiff’s
          Complaint. See ECF No. 17. The motion was granted in part and denied in part by
          Judge Evelyn Padin on January 11, 2023. See ECF No. 35, 36. The Court also
          permitted Plaintiff to file an Amended Complaint within 30 days, by February 11,
          2023. Id. Plaintiff did not do so, and confirmed during the February 23, 2023 status
          conference, that Plaintiff will rely on the Complaint as is to continue pursuing the
          remaining claims not dismissed by the January 11, 2023 court order.




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       At the status conference, I informed Your Honor that I was waiting for the
Amended Complaint to potentially file an Answer or another motion. But if Plaintiff
does not plan on filing an Amended Complaint, then I will file an Answer on behalf
of the State Defendants within two weeks. As such, the Court entered an Amended
Scheduling Order allowing State Defendants two weeks to file an Answer by March
9. See ECF No. 39.

       However, as I was re-reading Judge Padin’s Opinion to prepare the Answer
to Plaintiff’s Complaint, I realized that more claims against the State Defendants can
be dismissed now that the pleadings stage has closed. As such, State Defendants
request permission from the Court to file a motion for judgment on the pleadings
pursuant to Fed. R. Civ. P. 12(c). This motion will also help limit discovery by
dismissing parties and claims that are fully barred or precluded.

      The Court dismissed Defendants Palisades Interstate Parkway Commission
and Palisades Interstate Parkway Police Department, along with the official capacity
claims against the individual officers pursuant to Eleventh Amendment sovereign
immunity. See ECF No. 35, p. 9, 16. The Court noted that the State Defendants did
not move to dismiss Plaintiff’s claims against Defendant State of New Jersey. As the
same Eleventh Amendment sovereign immunity applies to the State, the State
Defendants seek permission to dismiss the State as a matter of law under Rule 12(c).

       Additionally, the Court discussed Plaintiff’s “Sixth Claim” in the Complaint
alleging Monell liability. The Court stated that Monell claims are not applicable to
States and arms of the State, like the State Defendants here. See ECF No. 35, p. 8.
So, the State Defendants seek permission to dismiss the Sixth Claim in Plaintiff’s
Complaint as a matter of law under Rule 12(c).

      Furthermore, Plaintiff’s prayer for relief requests injunctive relief “against
Defendants from engaging in each of the unlawful practices and polices set forth
herein.” The Court stated that Plaintiff lacks standing to bring a claim for
prospective injunctive relief. See ECF No. 35, p. 12. Thus, the State Defendants
seek permission to dismiss Plaintiff’s injunctive relief claim(s) as a matter of law
under Rule 12(c).

        Lastly, the Court noted in footnote 3 that Plaintiff’s Complaint may be deemed
a “shotgun pleading.” See ECF No. 35, p. 15. State Defendants seek permission
dismiss Plaintiff’s Complaint as a matter of law as the Complaint fails to vault the
federal pleading standard prohibiting group pleadings. Plaintiff’s ten claims asserted
against all the State Defendants do not allege facts for each defendant’s individual
liability. Therefore, the Complaint, as it stands, contains conclusory statements
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against multiple defendants, some defendants who are now dismissed, without
specifying what each defendant may be responsible for.

        While the Court decides whether to grant permission for the State Defendants’
to file a motion under Rule 12(c), the State Defendants’ request the March 9 deadline
for the Answer be stayed. If the State Defendants are granted permission to file the
motion, State Defendants request the Court to provide a filing deadline or briefing
schedule to avoid additional letters. I thank Your Honor for your time and attention
to this matter. We will await the Court’s instructions on how to proceed.


                                        Respectfully submitted,

                                        MATTHEW J. PLATKIN
                                        ATTORNEY GENERAL OF NEW JERSEY

                                    By: /s/ Barkha Patel
                                        Barkha Patel
                                        Deputy Attorney General
                                        NJ Attorney ID: 069652013



 cc:   All counsel of record
